                                                                                         Department of Revenue
                                                                                                955 Center St NE
          Kate Brown, Governor                                                             Salem, OR 97301-2555
                                                                                            www.oregon.gov/dor



                                                                            Date:            June 22, 2017

          EDWARD J DUFFY                                                    Letter ID:       L0584488704
          1717 SW HIGHLAND RD
          PORTLAND OR 97221-2729




                                      Notice and Demand to File

Debtor:                          EDWARD J. DUFFY
Bankruptcy Case Number: 17-31966-DWH13
Account(s) and period(s):
Personal income tax return for 2016

Our records show that you haven’t filed the return(s) shown above. This notification is a demand
for you to file. You’re required by law to file a return when requested by us (ORS 314.370). Please
send your tax return(s) and this letter to us at the address above. You should also send a copy of
your return to your attorney.

If you don’t file the requested return(s), we’ll calculate the tax that you owe and charge penalties
and interest based on the information we have [ORS 305.265(10)]. We’ll then file a claim in your
bankruptcy for that amount.

Penalties we may charge:

•   5 percent – failure to pay timely.
•   20 percent – failure to file and pay timely.
•   25 percent – failure to file.
•   100 percent – failure to file for three years in a row.
•   100 percent – failure to file in order to evade tax.

We also charge these penalties if you:

•   File a frivolous return – $250.
•   Significantly under report your taxable income – 20 percent of the tax that you don’t report.

In most cases, total penalty is limited to 100 percent of the unpaid tax.

If you weren’t required to file, you must state that reason in writing. Send the signed statement to
the address above.




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/s/ Beverly Rathelegurche, Bankruptcy Unit
Personal Tax and Compliance
(971) 701-5953

Please Note: We’re sending a copy of this to the Bankruptcy Court. The court has advised us that
the court may, sua sponte, treat this letter as an objection to confirmation of the plan and make a
motion to dismiss. If the returns aren’t filed prior to the confirmation hearing, the court will decide
at the confirmation hearing whether to dismiss your case or to continue the hearing to allow you to
file the returns.


cc:   Bankruptcy Court
      Bankruptcy Trustee
      Attorney




Do you have questions or need help?
www.oregon.gov/dor
(503) 378-4988 or (800) 356-4222
questions.dor@oregon.gov
Contact us for ADA accommodations or assistance in other languages.




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                                                                                             Department of Revenue
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                                           Certificate of Service


Case Number:17-31966-DWH13
Debtor(s) Name: EDWARD J. DUFFY
_________________________________________________________________________________________________________________

I certify that on June 22, 2017 copies of the Objection to Confirmation (Notice and Demand to File
letter) were mailed to:

Electronically transferred (ECF) to addressee(s) as follows:
Addressee(s):

WAYNE GODARE
NICHOLAS HENDERSON

First class mail to addressee(s) as follows:
Addressee(s):

EDWARD J DUFFY
1717 SW HIGHLAND RD
PORTLAND OR 97221-2729




/s/ Beverly Rathelegurche, Bankruptcy Unit
Personal Tax and Compliance
Phone: (971) 701-5953
Fax: (503) 945-8735




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